Case 5:19-cr-00142-H-BV      Document 263       Filed 05/22/20     Page 1 of 1      PageID 776



                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               LUBBOCKDIYISION

 UNITED STATES OF AMERICA,
    Plaintiff,

                                                           NO. 5:19-CR-142-04-H

 RAY ELIAS NARVAIS-RODRIGUEZ (4),
    Defendant.


                 ORDER ACCEPTING REPORT AI{D RECOMMENDATION
                    OF TIIE UNITED STATES MAGISTRATE JUDGE
                           CONCERNING PLEA OF GI,]ILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

 g 636OXI), the undersigrred District Judge is of the opinion that the Report and


 Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

 hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilry.

        Sentence will be imposed in accordance with the Court's scheduling order.

        SO ORDERED.

        DatedMay 4';2020.



                                            J           SLEY      zuX
                                                    D STATES DISTRICT JUDGE
